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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

Alexandria Division
UNITED STATES OF AMERICA )
)
Vv. )
) 1:21-cr-260 (LMB)
JAIRO GUSTAVO AGUILERA )
SAGASTIZADO, et al., )
)
Defendants. )
ORDER

For the reasons stated in open court, the Motion for Specific Relief to Enforce the Court’s
Brady Order, [Dkt. No. 822] (“Motion”), filed by defendant Cristian Arevalo Arias is
GRANTED, and it is hereby

ORDERED that all testimony offered by and exhibits introduced through government
witness Abner Molina Rodriguez in the first trial be and are STRICKEN, and it is further

ORDERED that Abner Molina Rodriguez is not permitted to testify as a witness in the
second trial in the above captioned criminal case, and it is further

ORDERED that all defense oral and written motions to adopt, [Dkt. Nos. 816, 817], be
and are GRANTED.

The Clerk is directed to forward copies of this Order to counsel of record.

Ist bap

Leonie M. Brinkema
United States District Judge

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Entered this /R day of January, 2024.

Alexandria, Virginia

